      Case 5:17-cv-00220-LHK Document 858 Filed 09/18/18 Page 1 of 3



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16                           UNITED STATES DISTRICT COURT
17                        NORTHERN DISTRICT OF CALIFORNIA
18
                                   SAN JOSE DIVISION
19

20
     FEDERAL TRADE COMMISSION,               Case No. 5:17-cv-00220-LHK
21
                      Plaintiff,            DEFENDANT QUALCOMM
22                                          INCORPORATED’S OPPOSITION TO
                vs.                         MOTION FOR LEAVE TO FILE AN
23                                          AMICUS BRIEF
     QUALCOMM INCORPORATED, a Delaware
24   corporation,                           Date:        February 21, 2019
                                            Time:        1:30 PM
25                    Defendant.            Courtroom:   8, 4th Floor
26                                          Judge:       Hon. Lucy H. Koh

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28                                                                     Qualcomm’s Opposition to
                                                         Motion for Leave to File an Amicus Brief
                                                                    Case No. 5:17-cv-00220-LHK
       Case 5:17-cv-00220-LHK Document 858 Filed 09/18/18 Page 2 of 3



 1          Defendant Qualcomm Incorporated (“Qualcomm”) respectfully opposes the Motion of

 2   ACT | The App Association (“ACT”) and Computer & Communications Industry Association

 3   (“CCIA”) for Leave To File an Amicus Curiae Brief in Support of the Federal Trade

 4   Commission’s Motion for Partial Summary Judgment (the “Motion”, ECF No. 857). When ACT

 5   and CCIA requested Qualcomm’s position on their forthcoming Motion, Qualcomm informed

 6   their counsel that it did not consent and, to avoid burdening the Court, informed ACT and CCIA

 7   that they may include in their Motion Qualcomm’s position as follows:

 8                  “Qualcomm does not consent to the belated filing of an amicus
                    brief by ACT and CCIA, one week before Qualcomm’s opposition
 9                  to the motion is due, on an issue the FTC asserts may be decided as
                    a matter of law without reference to industry practice. In addition
10                  to the timing problem, and the irrelevance of ACT and CCIA’s
                    views, both organizations are affiliated with firms that are actively
11                  litigating against Qualcomm in other forums. For example, Apple
                    is one of ACT’s sponsors. Intel and NVIDIA are CCIA members.
12                  Moreover, counsel for ACT and CCIA has previously appeared in
                    this case as counsel for Broadcom, which recently tried to acquire
13                  Qualcomm in a hostile transaction.”
14          The ACT and CCIA did not include the above statement in their Motion. Regardless, for

15   the reasons set forth in the above statement, Qualcomm respectfully submits that ACT and

16   CCIA’s participation as amicus curiae will not be useful to the Court in assessing whether the

17   FTC is entitled to partial summary judgment as a matter of law and will be prejudicial to

18   Qualcomm. Qualcomm therefore requests that the Court deny the Motion.

19   Dated: September 18, 2018
                                                  Respectfully submitted,
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                                                  CRAVATH, SWAINE & MOORE LLP,
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                                                                                Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 858 Filed 09/18/18 Page 3 of 3


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                                         2                Motion for Leave to Take Deposition
                                                                Case No. 5:17-cv-00220-LHK
